Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 1 of 42

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 17-CV-20260-JAL/Goodman

SHEILA BODNER, as Personal
Representative of the Estate of
HOWARD BODNER, Deceased,

Plaintiffs,
Vv.

ROYAL CARIBBEAN CRUISES, LTD.,
A Liberian Corporation, ROSARIA DELOGU,
and HELEN JOHNSTON,

Defendant.
/

NOTICE OF FILING DOCUMENTS FOR USE AT HEARING
SCHEDULED FOR NOVEMBER 2, 2017 AT 2:00 P.M.

The Plaintiff by and through her undersigned counsel files the attached documents for use
at hearing now schedule for November 2", 2017, to wit:

1. Defendant, ROYAL CARIBBEAN CRUISES, LTD.’s Notice of Answers to
Interrogatories and Answers to Interrogatories, dated August 28'", 2017, in response to Plaintiff's
Interrogatories propounded on July 28", 2017.

ys Defendant, ROYAL CARIBBEAN CRUISES, LTD.’s Response to Request to
Produce, dated August 28", 2017, regarding Plaintiff's Request to Produce dated July 28", 2017.

3. Defendant, ROYAL CARIBBEAN CRUISES, LTD.’s Notice of Production from
Non-Party dated July 27", 2017.

4, Defendant, ROYAL CARIBBEAN CRUISES, LTD.’s Notice of Compliance
dated August 16"", 2017.

GERSON & SCHWARTZ, P.A. © 1980 Coral Way * Miami, Florida 33145-2624
Dade (305) 371-6000 * Broward (954) 845-0535 * Fax (305) 371-5749 * Toll Free (877) 475-2905
www. injuryattorneyfla.com
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 2 of 42

SHEILA BODNER, ETC. V. ROYAL, ETC..
CASE NO. 17-CV-20260-JAL/Goodman

produced to date.

Defendant, ROYAL CARIBBEAN CRUISES, LTD.,’S Medical Records as

CERTIFICATE OF SERVICE

] HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically on all attorneys of record on the attached Service List on this 17" day of October,

2017.

s/PHILIP M. GERSON
PHILIP M. GERSON

Florida Bar No. 127290
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filing@gslawusa.com
zdiaz@gslawusa.com
GERSON & SCHWARTZ, P.A.
Attorneys for Plaintiffs

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2

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SHEILA BODNER, ETC. V. ROYAL, ETC..
CASE NO. 17-CV-20260-JAL/Goodman

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Case 1:17-cv-20260-JAL Document50 Entered on FLSD Docket 10/17/2017 Page 4 of 42

Exhibit 1
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 5 of 42

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

SHEILA BODNER, as Personal
Representative of the Estate of HOWARD
BODNER, Deceased,

Plaintiff,

V. CASE NO. 17-cv-20260-JAL/O’ Sullivan

ROYAL CARIBBEAN CRUISES, LTD., a
Liberian Corporation, ROSARIA DELOGU
and HELEN JOHNSTON,

Defendants.

NOTICE OF SERVICE OF ANSWERS TO INTERROGATORIES

Defendant, ROYAL CARIBBEAN CRUISES LTD., hereby gives notice of its service of
its Answers to Plaintiff, SHEILA BODNER, as Personal Representative of the Estate of Howard
Bodner, Deceased's interrogatories, attached hereto.

I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via email
this 28th day of August, 2017 to Nicholas I. Gerson, GERSON & SCHWARTZ, P.A.,
ngerson@gslawusa.com; Philip M Gerson, Esq., GERSON & SCHWARTZ, P.A.,
pgerson@gslawusa.com and zdiaz@gslawusa.com; David L. Markel, GERSON &
SCHWARTZ, P.A., dmarkel@gslawusa.com; and Edward S. Schwartz, GERSON &

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FOWLER WINTE BURNETT P.A. * 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 * (561) 802-9044
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 6 of 42

CASE NO. 17-cv-20260-JAL/Goodman

Respectfully submitted,

Mek 9, Wt

Michael J. Drahos
Fla. Bar No. 0617059
Email: mdrahos@fowler-white.com

FOWLER WHITE BURNETT, P.A.
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Bie

FOWLER WHITE BURNETT P.A, * 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 « (561) 802-9044
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 7 of 42

CASE NO, 17-cv-20260-JAL/Goodman

ANSWERS TO INTERROGATORIES

1, Was there a medical emergency involving Howard Bodner on January 26, 2016
on board the Allure of the Seas within the meaning of RCL's SQM chapter 14.01?

Yes.

Dn Did the medical emergency referenced in interrogatory 1 require medical
intervention, treatment or supplies not available on the ship.

Objection; Interrogatory No. 2 calls for a medical expert opinion and is an
improper/premature contention interrogatory Without waiving the foregoing
objection; unknown to this Defendant. RCCL defers to the medical judgment of its
shipboard physicians, Drs. Rosario Delagu and Helen Johnston.

3. Did Howard Bodner need to be disembarked for transfer to a shore side medical
facility for definitive medical care.

Objection; Interrogatory No. 3 is vague as to the time frame being referenced.
Additionally, Interrogatory No. 3 calls for a medical expert opinion and is an
improper/premature contention interrogatory. Without waiving the foregoing
objections; unknown to this Defendant. RCCL defers to the medical judgment of its
shipboard physicians, Drs. Rosario Delagu and Helen Johnston.

4, Did the risks of transfer of Howard Bodner outweigh the benefits of the transfer?
If so, please explain the risk/benefit of RCL.

Objection; Interrogatory No. 4 is vague as to the time frame being referenced.
Additionally, Interrogatory No. 4 calls for a medical expert opinion and is an
improper/premature contention interrogatory. Without waiving the foregoing
objections; unknown to this Defendant. RCCL defers to the medical judgment of its
shipboard physicians, Drs. Rosario Delagu and Helen Johnston.

5. Did medical operations staff assist with logistics and transport arrangements for
Howard Bodner? If so, state:

a. The name of all RCL staff who assisted
b, Explain what each staff member did to assist
c, Identify all documentation which existed concerning the assistance

Based upon current information and belief, a call was made by a member of the
medical staff aboard the Allure to the port agent in Bayonne, Subsequent calls were
made by Dr. Helen Johnston.

Bi.

FOWLER WHITE BURNETT P.A. * 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 + (561) 802-9044
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 8 of 42

CASE NO. 17-cv-20260-JAL/Goodman

6. Did a CARE team manage accompany Mr. Bodner when he left the ship on
January 26, 2016? If so state:

a. The name of all CARE team members
b. Explain what each CARE team member did to assist
c. Identify all documentation which existed concerning the assistance
No
C. Did the treating ship's physician determine that medical disembarkation was

necessary for Howard Bodner on January 26, 2016. If so,
Yes

a. Did the ship's treating physician determine that suitable shore side medical
facilities were available to treat Howard Bodner? If so did the ship's treating physician
determine the most appropriate receiving facility for Howard Bodner? If so, did the
ship's treating physician determine the facility utilizing

i. the local port agent — Yes
ii. Prior experience with local hospitals —- Yes

iii, A travel assistance company assigned by Howard Bodner's travel
insurance provider, — No

b. Was a CARE team associate disembarked by the ship to remain with
Howard Bodner. — No

C. Which if any of the "circumstances" set forth in SQM 14.02 were
applicable to Howard Bodner. — Assistance from the local port agent and prior
experience with the local hospital.

8. Did a member of the ship's medical team notify the appropriate shore side support
team of the Howard Bodner disembarkation on January 26, 2016? If so, state the name of the
person who made the notification, the date and time of the notification, the means (telephone,
email, text, etc) of notification and identify all documentation of the notification.

Based upon current information and belief, a call was made by a member of the
medical staff aboard the Allure to the port agent in Bayonne. Subsequent calls were
made by Dr. Helen Johnston.

9. Were the services of the local port agent requested to assist in providing
appropriate emergency ground transportation to the receiving hospital for Howard Bodner to
disembark the Anthem of the Seas on January 26, 2016? If so, identify the time, the services

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FOWLER WHITE BURNETT P A * 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33403 * (561) 802-9044
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 9 of 42

CASE NO. 17-cv-20260-JAL/Goodman

requested, the names of all persons to whom the request was made, and the means of requested
assistance (c.g, telephone, email, text, etc.).

Based upon current information and belief, a call was made by a member of the
medical staff aboard the Allure to the port agent Kelly Machado in Bayonne.

10. Did the ship's medical team request: (yes or no for each)
a. Ambulance - Yes
b. Basic life support crew response - No
C, Advanced Life Support crew response — Yes

In the event of a, b and/or c were notified state the name of the medical team
member who made the notification, the times of all notifications, and identify all
documentation of the notification(s).

Based upon current information and belief, a call was made by a member of the
medical staff aboard the Allure to the port agent in Bayonne. Subsequent calls were
made by Dr. Helen Johnston. Please see the RCCL medical chart previously
produced.

11. Was there any doubt about the ability of the responding medical transport crew to
manage the clinical condition of Howard Bodner on January 26, 2016? If so state in detail the
factual basis for such doubts.

Objection; Interrogatory No. 11 calls for a medical expert opinion and is an
improper/premature contention interrogatory. Without waiving the foregoing
objections; unknown to this Defendant. RCCL defers to the medical judgment of its
shipboard physicians, Drs. Rosario Delagu and Helen Johnston.

12. Was any medical equipment needed to manage Howard Bodner's clinical
condition during transport from the Anthem of the Seas to Bayonne Medical Center on January
26, 2016? If so, identify all such equipment, and state whether it was provided for Mr. Bodner's
transport on January 26, 2016.

Objection; Interrogatory No. 12 calls for a medical expert opinion and is an
improper/premature contention interrogatory. Without waiving the foregoing
objections; unknown to this Defendant. RCCL defers to the medical judgment of its
shipboard physicians, Drs. Rosario Delagu and Helen Johnston.

13. Was a ship's physician or nurse assigned to medically supervise the transport of
Howard Bodner to Bayonne Medical Center on January 26, 2016? If so, state the name of the
persons who supervised the transport. If not, state all reasons why no supervised transport
occurred.

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FOWLER WHITE BURNETT P.A * 515 NORTH FLAGLER Drive, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 + (561) 802-9044
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No, care was transferred to the paramedics.

14. Did a ships physician call Bayonne Medical Center to alert them of the transfer
and provide additional background clinical information? If so, state the name of the person who
called, the times of all calls, the names of the persons spoken to. If not, state all reasons why no
call was made.

Yes, Dr. Helen Johnston. The exact time of the cal] is unknown.

15. Did Howard Bodner die while onboard the Anthem of the Seas on January 26,
2016? Ifso, was any report made to the CDC Division of the Global Migration and Quarantine
system (MIDRS)?

No, he was pronounced dead at Bayonne Medical Center.

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FOWLER WHITE BURNETT P.A, * 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 ¢ (561) 802-9044
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Exhibit 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

SHEILA BODNER, as Personal
Representative of the Estate of HOWARD
BODNER, Deceased,

Plaintiff,
Vv. CASE NO, 17-cv-20260-JAL/O’ Sullivan

ROYAL CARIBBEAN CRUISES, LTD., a
Liberian Corporation, ROSARIA DELOGU
and HELEN JOHNSTON,

Defendants.

DEFENDANT’S RESPONSE TO PLAINTIFF’S REQUEST FOR PRODUCTION

Defendant, ROYAL CARIBBEAN CRUISES, LTD., by and through its undersigned
counsel, hereby Responds to Plaintiff's, SHEILA BODNER, as Personal Representative of the

Estate of HOWARD BODNER, Deceased, July 28, 2017 Requests for Production.

RESPONSES TO REQUESTS FOR PRODUCTION

1. All documentation referenced in interrogatories 5, 6, 8, 9, 10, 15 of the same date
at this request.

RESPONSE: None other than medical chart previously produced.

2. Versions 48, 51, 54, 60, 61, 66 published 8/20/10; 5/4/11; 1/20/12; 8/8/13;
10/10/13; 1/13/15 of section 14 pertaining to medical disembarkation of a Guest in Port.

RESPONSE: Objection; Request for Production No. 2 is overbroad as to the scope of
the time period of information that is being requested and thus calls for information
which is not reasonably calculated to lead to the discovery of admissible evidence.

3. "Guest Landed Report" for Howard Bodner.

RESPONSE: See attached
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 13 of 42

CASE NO. 17-cv-20260-JAL/Goodman

I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via email

this 28th day of August, 2017 to Nicholas I. Gerson, GERSON & SCHWARTZ, P.A.,

ngerson@gslawusa.com; Philip M Gerson, Esq., GERSON & SCHWARTZ, P.A.,

pgerson@gslawusa.com

zdiaz@gslawusa.com; David L. Markel, GERSON &

SCHWARTZ, P.A., dmarkel@gslawusa.com; and Edward 8S. Schwartz, GERSON &

SCHWARTZ, P.A., eschwartz@gslawusa.com.

4828-3780-8206, v. |

Respectfully submitted,

Mek 4. dt

Michael J. Drahos
Fla. Bar No. 0617059
Email: mdrahos@fowler-white.com

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Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 14 of 42

Exhibit 3
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

SHEILA BODNER, as Personal
Representative of the Estate of HOWARD
BODNER, Deceased,

Plaintiff,

V. CASE NO. 17-cv-20260-JAL/O’ Sullivan

ROYAL CARIBBEAN CRUISES, LTD., a
Liberian Corporation, ROSARIA DELOGU
and HELEN JOHNSTON,

Defendants.

NOTICE OF PRODUCTION FROM NON-PARTY

In accordance with Rules 45(b)(1) and 5(b) of the Federal Rules of Civil Procedure, the
Defendant, ROYAL CARIBBEAN CRUISES, LTD, hereby serves its Subpoenas Duces Tecum
to the following Non Parties:

1. Charles Koo, M.D.

2. Weil Cornell Medical College Hospital — Medical Records
3. Weil Cornell Medical College Hospital — Radiology

4, Weil Cornell Medical College Hospital — Patient Accounts
5. Willis Eye Hospital — Medical Records

6. Willis Eye Hospital — Radiology

7, Willis Eye Hospital — Patient Accounts

8. Craig P. Bontempo, M.D.

9. Darsit Shah, M.D.

FOWLER WHITE BURNETT P.A, * BRICKELL ARCH, 1395 BRICKELL AVENUE, 14m FLOOR, MIAMI, FLORIDA 33131 * (305) 789-9200
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 16 of 42

CASE NO. 17-cv-20260-JAL/Goodman

10. Eric Abrams, M.D,

11. Orsini Gilson & Miller, MDs
12. Crest Physical Therapy

13. Horizon Blue Cross Blue Shield of New Jersey
14, United Healthcare

15. Medicare

16. CVS

17. Express Scripts, Inc.

18. Bank of America

19, Fidelity Investments

20. Wells Fargo Bank

21. Wells Fargo Financial

22. M&T Bank

23. Verizon Cellco Partnership

I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via email
this 27" day of July, 2017 to Nicholas I. Gerson, GERSON & SCHWARTZ, P.A.,
ngerson@gslawusa.com; Philip M Gerson, Esq., GERSON & SCHWARTZ, P.A.,
pgerson@gslawusa.com and zdiaz@gslawusa.com; David L. Markel, GERSON &
SCHWARTZ, P.A., dmarkel@gslawusa.com; and Edward S. Schwartz, GERSON &

SCHWARTZ, P.A., eschwartz@gslawusa.com.

-B-

FOWLER WHITE BURNETT P.A. * BRICKELL ARCH, 1395 BRICKELL AVENUE, 14m FLOOR, MIAMI, FLORIDA 33131 ¢ (305) 789-9200
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 17 of 42

CASE NO. 17-cv-20260-JAL/Goodman

Respectfully submitted,

Marked 4. bre

Michael J. Drahos
Fla. Bar No. 0617059
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FOWLER WHITE BURNETT, P.A.
Northbridge Centre

515 North Flagler Drive, Suite 2100
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4835-1132-2444, v. 1

-3-

FOWLER WHITE BURNETT P.A. * BRICKELL ARCH, 1395 BRICKELL AVENUE, 1411 FLOOR, MIAMI, FLORIDA 33131 * (305) 789-9200
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 18 of 42

Exhibit 4
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 19 of 42

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

SHEILA BODNER, as Personal
Representative of the Estate of HOWARD
BODNER, Deceased,

Plaintiff,

Vv. CASE NO. 17-cv-20260-JAL/O’ Sullivan
ROYAL CARIBBEAN CRUISES, LTD., a
Liberian Corporation, ROSARIA DELOGU
and HELEN JOHNSTON,

Defendants.

NOTICE OF COMPLIANCE

The Defendant, Royal Caribbean Cruises, Ltd, by and through the undersigned counsel,
has complied with Plaintiff, Sheila Bodner, as Personal Representative of the Estate of Howard
Bodner, Deceased’s Request for Copies, by forwarding copies of the records received from:

Pursuant to Request for Copies dated June 29, 2017:

1. McCabe Ambulance Service, Inc.

2. Jersey City Medical Center EMS — No Films [Provided via email 7/24/17]

Pursuant to Request for Copies dated August 11, 2017:

3. Wills Eye Hospital — Radiology ~ No Films [Provided via email 7/31/17]

4, M & T Bank — No Records

5. Charles Koo, MD

6. Orsini Gilson & Miller, MDs

I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via email

this 16th day of August, 2017 to Nicholas I. Gerson, GERSON & SCHWARTZ, P.A.,

FOWLER WHITE BURNETT P.A, © 515 NORTH FLAGLER DRIVE, SUITE 2100, WEST PALM BEACH, FLORIDA 33401 * (561) 802-9044
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 20 of 42

CASE NO. 17-cv-20260-JAL/Goodman

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pgerson@gslawusa.com and zdiaz@gslawusa.com; David L. Markel, GERSON &
SCHWARTZ, P.A., dmarkel@gslawusa.com; and Edward S. Schwartz, GERSON &
SCHWARTZ, P.A., eschwartz@gslawusa.com.

Respectfully submitted,

Mutud 9, Rt
Michael J. Drahos
Fla. Bar No. 0617059

Email: mdrahos@fowler-white.com

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4828-8605-4733, v. |

-o:-

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Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 21 of 42

Exhibit 5
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 22 of 42

Patient Demographic

HOWARD BODNER

Name: HOWARD BODNER Gender: male Date of Birth: Apr 15, 1940

Addrasa: Addrase1: Addrase2:

City: State: Country: UNITED STATES

Postal: Phone: Emall:

Race: Helght: Welght:

Eye Color: Hales Colar: Age: 75

Cabin: 6656 Pagaport;

Past Medical History

Medical History

Condition Dale onset Date of Resolution

Uric acid nephrolithiasis
Noles: fakas allopurinol 1998

Heart fallure, unspecified
Chronic liness 2006

Veriigo of central origin .
Notes: exaci dale net know: 2011

Spinal stenosis, other raglon
Noles: sxact dala not knawn 2010

Diabetes mellitus without mention of complication, type | Juvenile type], not stated as uncontrolled

Noles: takes insuiin 2000
Surgical Histary
Surgery Date Location
Peroulanedus stent placement into the left external Illac artery
Noles; Hau two Mis 1992 and 2006 2006 home
Active Medications
roveredys (3 SeQCare (98000000921 25300) HOWARD BODNER - Apr 15, 1940 | Page 1 of 13

FWB000001
Case 1:17-cv-20260-JAL Document50 Entered on FLSD Docket 10/17/2017 Page 23 of 42

Medication Presorlbed

NITROGLYCERIN TABLET 0.4MG PO

D
Frequency: 1 Tabtel as directed 7 =o =
Dispense Amount: 2 Tablet ,

ALLOPURINOL TABLET ESTIMATED / UNKNOWN
Frequency: 1 Tablet as directed

ASPIRIN LOW DOSE TABLET,DELAYED RELEASE ESTIMATED / UNKNOWN
Frequency: 1 Tablet as directed

AVODART CAPSULE 0.5 MG
Frequency: 1 Capsule as directed

AVODART CAPSULE 0.5 MG
Frequency: 1 Capsule as directed

CAAVEDILOL TABLET ESTIMATED / UNKNOWN
Frequency: 1 Tablet as directed

COUMADIN TABLET 5 MG
Frequency: 1 Tablet as direcled

DIOVAN HCT TABLET 160-12.5 MG
Fraquency: 1 Tablet as directed

JANUVIA TABLET 26 MG
Frequency: 1 Tablet ag directed

LANTUS SOLOSTAR SUB-@ INSULIN PEN ESTIMATED / UNKNOWN
Frequency: 1 Unit as directed

LASIX TABLET 40 MG
Frequency: 1 Tablet as directed

LIPITOR TABLET 10 MG
Frequency: 1 Tablet as directed

STARLIX TABLET 120 MG
Frequency: 1 Tablet as directed

UROXATAAL TABLET,EXTENOED RELEASE 10 MG
Frequency: 1 Tablet as directed

Allergies

Dispensed / Administered

Dr Rosarla Delogu
Jan 24, 2016
22:02 EST

Last review by: Daniela Croitoru RN on Jan 24, 2016 15:21 EST

Allergy Comments Identitled By

clindamycin
Reaction: upsei stomach.
Treatment: avoid.

Black Pepper
Reaction: anafllaxis.
Treatment: avold.

Date

Last Reaction

“9 @SeaCare {98000000921 25300) HOWARD BODNER - Apr 15, 1940 | Page 2 of 1

FWB000002
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 24 of 42

Aller Comments identified By Date Last Reaction
Social Hx

No Social History tound for this patlent
Encounters Sectlons

Clinical Note Jan 24, 2016

Triaga Chief Complaint
Patient attends clinic for Cough and Shortness of breath.

Notes
Started with some cold symptoms ,(he cough is getting worse,feeis his chast is congested and has shoriness al breath when walking.Has an implanted delitrillator

Triage Entered By
Daniela Crolicru RN on Jan 24, 2016 al 15:04 EST

Priority
fe

Chiet Complaint / HPI

75 year-old male fram United States presents with:
$08
Noles: cold symptoms with cough for the past four days, used OTC but [he symptams gat worse. Today persistent productive cough, fatigue and alfticull In breathing,
Entered by: Dr Rosaria Delopu on Jan 24, 2016 at 21:30 EST

Phyelcal Examination

General:

78 years ald gentleman, obese, tachypnoeic but able to lalk in full sanlences, nol using accessory respiralory musclas. Non diaphoretic, no chest pain. Continuous persistent
cough, malaise and faligue, no anxiely, no rastiessnass. Hx of IHF, IDDM, Mis (1992-2006), borderline renal failure. Implanted dafibrillator.

Cardiovascular:
Cardiac, Rhylhm regular, S1 and $2 normal, no murmur or gallop..
Bilateral pliting edema on the extremilias, not distended jugular veins, BP 130/70, HR 70 rhythmic, EKG: sinus rhythm 70 bpm, flral dagrae AV block, ABBB..

Respiratory:
Good chest expansion, good air entry. Bllatoral basal fine crepilations. RR 16, Sat O2 49% in room air.
Entered by: Or Aosaria Detogu

Working Diagnosis .

486 - Pneumonia, organism unspecitled
518.4 - Acute adema of lung, unspecified
Writtert by Dt Rosaria Delogu

powered ov: (39 SEQCare (98000000921 25300) HOWARD BODNER - Apr 15, 1940 | Page 3 of 13

FWB000003
Case 1:17-cv-20260-JAL Document50 Entered on FLSD Docket 10/17/2017

Notes

15:20 taken to ER and startled O2 by nasal cannula ai 4/min. starled (V (Ine and EKG done

15:40 Given Furosemide 20mg IV slowly,

16:00 patent urinaled 290m! In the urinal

16:30 Taken io observation room, vilal signs are good, SaO2 is 96% on nasal cannula

17:00 Given another Furosemide 20mg IV slowly.

17:30 Urinated 280m! in the urinal., Patient is with his wife, watching TV

17:45 Switched to non re breathable mask at 6i/min, since the S$aO2 draps to 91-82% on nasal cannula whan lying In hed
18:15 The SaO2 is 97% with the mask. Given one lablet of NTG SL. Aslo, slarted nebulization wilh Dexamethasone {mi and Acetyleisteine 2ml
18:35 Given another NTG lablet SL

19:00 Patlent cannot stay wilhoul oxygen ,the SaO2 drops to 83% without O2.

He is reslaried on O2 nasal cannula al 4/min.Sa O2 increases to 93%.

Urinated 300ml. In the urinal,

19:20 Taken Chesl X-ray sitting in bed.

19:30 Stared Azythromicin 500mg In 259ml Normal saline,

Watten by Daniela Croitorit AN on Jan 74, 2096 al 15:17 EST

Pationt admitted for observation, vital signs monitoring, O02 admintstration and treatment,

Page 25 of 42

Sitting in bed with continuous productive cough. no SOB, RR 16. Sat O2 92% wilh 02/4Lnasal cannula (86% in roam air) Cardiovascular stable with BP 120/80 and HR 70

rhythmic.

-treaiment: Lasix 20mg X 2 /IV and Nilro G.4mg/ SL

Chest: L chest clear, now audible crepitations ob A basal lung.

Sat 02 not improved, sill] 92% wlth oxigen 3 L, 84% In room air

Pa(lenl requasting food and sodas, taking own insulin and oral hypoglycaemic medicalions as usual.

Plan:- starled on Azitromycin 500mg IV In 250 ml Normal gallne + oral Augmentin BD (ihe patient took already a first dose ol salf prescribedAugmentin)
- neds wilh Dexamathasone 10 mg and Acetyl 2 mt

-admilted overnight for O2 theraphy /4 Ilters/ nasal cannula and observatian

Watten by Dr Aosatia Delngu on Jan 24. 2016 af 22:20 CST

1,30 AM: patient sleeping with occasional cough. Vital signs unvaried,
Wrillen by Dr Rosaria Delogu on Jan 25 2016 a 04:90 EST

21.30 pailent ig eating and after that he made his insulin

21:45 tried to lat the patiant to breathe without nasal cannula but the oxygan is dropping
22:00 starting again with nasal cannula

22:10 patient is resting

22:40 patient is going to restroom

22:50 back to bed

23:00 paitent is resiing

23:30 patient is going to rastraom

23:40 back lo bed

00:30 pallent is resting

00:50 patient ts going to resircom

01:00 back io bed

01:30 patlant is rasting

01:45 patient is sleeping withoul nasal cannula but the SpO2 Is still dropping
02:00 starting again with nasal cannula

02:40 patient Is going to restroom

02:50 back ia bed

03:20 patient is sleeping

04:00 pailent is sieeping

04:50 pallent is gaing lo restroom and he ts having 1 solt bowel mavemant
05:10 patient back to bed

05:30 patient ie resting

08:00 palisnt endorsed lo nurse Wilma

Written by Adriana Chiloiu AN un Jan 25 2016 at 05.91 EST

Medications

SALINE INJECTION NOAMAL 0,9% NACL 250CC IV

Frequency: 1 Bag stat. Dispense Amount: 1 Vial
AZITHROMYCIN ING 500MG IV

Frequency: 1 Vial as directed. Dispense Amount: { Viat
NITROGLYCERIN TABLET 0.4MG PO

Frequency. 1 Tablet as directed. Dispense Amount: 2 Tablat
FUROSEMIDE INJECTION 10MG/ML 4ML IV

Frequency: } Vial stat. Dispense Amount: 1 Viaf

povered ov et SeQCare (9800000092125300) HOWARD BODNER - Apr 15, 1940 | Page 4 of 13

FWwB000004
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 26 of 42

Investigatione

LEGIONELLA ANTIBODY
Results
Normal
Completed: Jan 24, 2016 21:08 EST by Adylana Chilolu
RN
Comments; Negatlva
ELECTROCARDIOGRAM COMPLETE
Results
Campleted: Jan 24, 2016 18:20 EST by Daniela Croltoru
RN
Documents
EKG

ASSAY OF TROPONIN QUANT
Results
Completed: Jan 24, 2016 16:01 EST by Paula Costa
RN
Comments: 0.0ing/mL

Cac
Resulls
Completed: Jan 24, 2016 16:18 EST by Paula Costa
AN
Stat - Chem 8
Results
Completed: Jan 24, 2016 16:04 EST by Paula Costa
AN

ASSAY OF TROPONIN QUANT:
Results
Abnormal
Completed: Jan 24, 2016 15:89 EST by Paula Costa
RN

powered y: Ki Sea Care (9800000082125300) HOWARD BODNER - Apr 15, 1940 | Page 5 of 13

FWBO000005
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 27 of 42

Labs
(Stat - Chem 8 Jan 24, 2016 16:04 EST
Name Result Unit Range Value
Het 38 % 41-50
Hb 12.9 13,0-17.2
Crealinine 22 mafdl 0.5-1.4
Glucose 260 mg/dl 60-110
Chloride 109 mEq/L 95-107
Na 146 mEusdl 195-147
K 43 mEq/di 3,5-5,.2
TCO2 22 mmol/l 20-29
Anion gap 20 mmold 3-11
iCa 1.14 mmol 0.67-0.89
Urea nitragen“pre dialysis 56 mg/dL 7-20

cBC Jan 24, 2016 16:18 EST

Name Result Unit Range Value
Hematocril 42.1 % 31-63
Hemoglobin 14,1 gidl 12-176
MCHC 33,5 gid. 31,7-36
Total WAC 11.4 x 10°O/L 4.3-10
Granulocyles a3 1O4S/L 1.B-7.2
% Granulucyles 73 %

Lymph+Monos ak 10°S/L 1.7-4,9
% | ymphs+Monos 27 %

Platelets 151 x TO49/L 140-440

Pewered by. () Sea Ca re

(9800000092125300) HOWARD BODNER - Apr 15, 1940 | Page 6 of 13

FWBO000006
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Temperature Pulses BP RR Pulse Oximetry Glucore

Main Vital Signa & c Spo2 mgd mmol
van 25, 2016 06:54 EST :
Adriana Chitoiu RN 65 rag 122/58 = RAsit 96 Finger
Jan 25, 2016 05:30 EST
Adriana Chitoiu IN 77 109 6 Finger
Jan 25, 2016 03:30 EST .
Adriana Chitoiu RN ap ea 98 Finger
Jan 25, 2016 02:00 EST - .
Adriana Chiloiu RN 79 reg 7 Finger
Jan 25, 2016 01:45 EST 84 Finger
Adrlana Chitolu RN 7

Commas without Dich
cannula,
Jan 24, 2016 22:00 EST :
Adiiana Chitoiu RN a 127/84 RA sit a7 Finger
Jan 24, 2016 21:45 EST 83 Finger
Adrlana Chitolu AN ig

Conmnents. witha! nasal
Canter
dan 24, 2016 19:98 EST 7
Daniela Croitoru RN 70 reg 135/66 LA git 93 Finger
Jan 24, 2016 18:37 EST ; : . r
Daniela Croiloru RN 08.6 a7 T 70 seg 112/56 LA sil 93 Finger 241 14.4 R
Cammanis: Back on nasal
vannida Amin
dan 24, 2016 17:58 EST . 5
Daniela Croltoru RN 78 reg 129/65 = LA sit 97 Finger
Conments: Usinalort anaihes
300ind i ihe urinal
Jan 24, 2016 17:17 EST sj .
Daniela Crolloru RN 0 reg 126/60 = LAsit 94 Finger
Jan 24, 2016 16:00 EST . .
Daniela Crattoru FIN 88 rag 125/60 LAlie 95 Finger
Jan 24, 2016 16:00 EST .
Daniela Croltoru RN 78 reg 126/60 = LAlie 96 Finger
Ji : ;

eae eee due veo 98 36.7 0 78 tag 432/74 AAsit 89 Finger

Daniela Crolloru AN

Copunents. ron alr.

Ventliator Mode Venillator Rate Ventilator TV Ventilator FIO2 Ventilator PEEP Fiuld in Fluid out

Critical Care bpm co % om 420 m mi
Jan 25, 2016 02:40 EST 140
Adriana Chitolu RN
Jan 26, 2016 00:50 EST 140
Adriana Chilciu RN
Jan 24, 2016 23:30 EST 160
Adrlana Chitolu RN
dan 24, 2016 22:20 EST 220

Adriana Chitoiu RN

Disposition
Admit to Medicaj Center. .

Cilnical Note Jan 25, 2016

rovered : KO SeQCare (98000000921 25300) HOWARD BODNER - Apr 15, 1940 | Page 7 of 13

FWB000007
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Working Diagnosis

486 - Pneumonia, organism unspecltiad

518.4 - Acute edema of lung, unspacitiad

372.30 - Conjunctivitis, ungpecilied
Written by Dr Helen Johnsion MBBS

Notes

07:55 Patlent care taken over {rom AN Adriana, Al time of hand-over guest is silling on the side of the bed, Oxygen In progress via nagal cannula.

08:10 | was in the laboratory when | heard the patient shouting for help at the back, When | raached the roam ihe patient was silling an his buttocks with his lags crossed,
Patient had his socks on when Iried te stand up from the bed. | notlved Itial (here was @ urinal on the Hloor and all the urine Spilled on (he lloor. Noticed thal patlan| was also
Incentinent of feces, Nuree Paula and | assisted pallont ta the chalr. Asked guest whether he was hurl anywhere and he was jus! concerned about the small abrasion on his lefl
foraarm, Wound cleansed wilh Normal Salina and dressed with Mupirocin ointment, gauze and hypoallergenic tape,

8:15 Fullwash given. Noticed red mark approximately 10cm on his back ? fram fall. Bedlinan shanged. Clean nightgown pul on and adult diaper. Made comfortable in bed.

03:30 Wils came to visil and guast had breakfast.

10:45 Guest went ta bathroom and had another episode of diarrhea. Vitals done upon return from restroom. Loperamide x 2 capsules slat given, Advised guest nol lo drink so
much Sprite and rather drink water.

11:20 Guest sleeping an his lefl side, SpO2=94% Oxygan being administered at 4L/min via nasal cannula

11:38 Palient seen by Dr. Johnston and had the following arders:
- Bloods to be taken for CHEM 8, Biochemistry, INR

- Normal Saline 1L/ 12 hours

+ Go-Amoxiclav AM & PM

- Azithromycin 500mg IV

- usual oval medication

- blaodglucose q 4h & betare insulin

- Lantus at bedlime

11:45 Bloods taken and analyzed as requeated by Dr, Johnston. Go-Amoxiclav given (AM dose). Patient has already taken his usual medication, Infusion of Normal Saline 1
commenced at 83.3 ml/ hr via infusion pump.

18:00 Dr. Delagu came to ses patient - attempted to remove nasal cannula, but ques\ dasaturated. Nasal cannula oul back.
Unitien by Wilina August FIN on Jan 25, 2016 at 0&4d8 EST

20:30 Ordered by dr, Johnston Furosemide 40mg iV.Guest gave himeelf ihe lantus Insulin.

20:45 Placed in the famaining Normal Saline(approx 200ml) the Azythromicin 500mg running al tha rate of 8Oil/hour,

21:00 Placed Ciprofloxacin eye drops 2 drops in each aye as preacribed,Patlant made comfortable In bed, Wants to sleep.Sp C2 96 on nasal cannula while seated al the side of
the bed,BB 123/65 HR 7&/min

21:30 Taken naw blood sample for Ghe 8, as ordered by the daclor,

21:35 patient urinaled 200ml in the urinal.

21:45 says he would like to sleep, but cannot because he has lo uilnate.Trying to sleep

Wrilten by Daniela Croitoris BN on Jan 25, 2016 al 20.58 EST

Hypaxle

Contused

incontinent cf urine and faeces/dlarrhoea
sanjunctivitis lett aya

The guest has had a dilftcult day and presented challenging behaviour, He has nol been able to tolerate oxygen delivery, manage his personal hygiene or retain short term
memory, [ forgot he took insulin last night, forgot he is taking warfarin] he has been aggressive and bordaring on violent,

Medically, he has remnined unwell, oxygen demand remained 4-6L, desalurating to 72% al one polnt whan he refused to woar nasal Ganulae.
BP remained stable, pulse steady in 80s, regular.

Early moiing whan examined his ghost lind scattered creps particularly In laf lung.

During the attermaon he developed craps troughoul the chest and noedad furosemide 40mg IV.

Blood resulls Ils marning
INR 2.3,
Cr 2,7 BUN 60, K+ WNL, LFTs WNL

plan

rehydrate - rescue acute kidney injury - 1L normal saline aver 12h, recheckad Cr 2.1 al 21:00
antibiotic oral augmentin, IV azilhromycin

usual meds plus lanius - which he look before we could stop him, ? dose laken,

regular BMs Ulirough the day

he developed lett eye conjuctivilis - copious yellow purulent discharge, began topical ciprotloxacin,

23:00 Jan 25 onwards

Guest has been desatuiating when moving around in bed, took nasal canulae off and then became more confused, He made his way to the bathroom and refused to accept
oxyqon os return ta room for Rx. He became cyenosed. We callad securlly to help, they persuaded him to return to bed, pul on canulae and wear O2 monltor. O2 sats dropped to
72%, bul rose lo 97% an 6L by prongs.

Uahila nitian an tnilat ha ontind hin witn the than Aarmn drvin and otnund inthe eam uilth him and RA natlad clavin

roveed by: (33 SaQqCare (9800000092125300) HOWARD BOONER - Apr 15, 1940 | Page 8 of 13

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NUKE ANU Rg AN LENG Ver URLS 1 PN, WES UR a1 UH GLEE DL ZO U1) UI IMAGNEL puNNEL pert ants Ne otter ue

We have had difficult discussions with guest and his wile about how lo leave [he ship. We offered lo call ACLS ambulance lo meal ship n Bayonna, they are unhappy wilh plan to
g0 direcl lo Bayonne Hospital. We looked al options, but private ambularice and laking oxygen in their own car to Lheir local hospital are not safe oplions He remains with a
signiflcant oxygen demand and fluctuating respiratory status.

Written by Di Helen Johnston MEBS on Jan 26 2016 at 01:01 EST

22:30 Patient maintains SaO2 at 92-93% on nasal cannula while sleeping.

1:00 Since 23:00 hrs (ha paliani became confused and noi accepling lhe Oxygan, or to be itored. Me and Dr J continuously hed him ta make suse he has the
fasal cannula on and the SaO2 Is satistactory, bul il has been difficull , because the patlont is resistant and aggressive, when wo try to fix tho nasal cattinula or to measure the
$02. Ho kaops tolling us to teavo the raom and leave him by himealt. Al 0:30 wa had to call sbeuTity.quards for bolp to gel hiny aul of the bathroorn, He want by himsoll inside
the bathroom, without oxygen, called his wite from the phone in the Sathroom.With the help ol the security quard fa came back In bed, The SaQ2 dropped to 72% but increased
rapidly up lo 96% an 6 | of oxygen. Patisnt is sitling on Ihe bed. Does nol want the nurse ar the doctor to stay In the room .His wite came down at 1AM and stays with him In the
room.

2:00 The patient has been sleeping for the last haur,since his wile came.malniains |he SaO2 at 92-93% while asleep.

2:10 patient wakes up, he is-conlused, wants to go to the resiraam. Wilh the help of his wife, he is reminded to usa the urinal. He urinates 90ml in the winal. He is hen placed
back In bed, made comfortable, Goos back lo slenp.

3:00 palian! wakes up to urinate -Urinales 200ml in the urinal.The saQ2 while sleaping maintains between 91-93 % on nasal cannula at 6l/min. He refuses the mask Dactor
aware of ihe siluation and tha saturation of oxygen

3.30 faels like urinating, but cannot. wants to sit an the bed,.Sa02 is 93% on 6 l/min on nasal cannula

4:30 Patient has been sleeping, maintaining the SaO2 at 92-93% .

Witten by Daniala Croitoru AN on Jan 26 2016 at 01-45 EST

Medications

CILOXAN EYE SOLUTION 5ML LEFT EYE

Frequency. 3 Drop three times daily. Dispense Amount: 1 Bottle
AZITHROMYCIN ING 500MG IV

Fraquency: 500 Milligram stat, Dispense Amount: 1 Bag
FUROSEMIDE INJECTION 10MG/ML 4ML IV

Fraquency: 40 Milliyram stat. Dispense Amount: 1 Botile
SALINE INJECTION NORMAL 0.9% NACL 1000ML IV

Fraquency: 1 Litre stat, Dispense Amount: 1 Bag

Procedures

OXYGEN TREATMENT-1 TO 24 HRS
CARDIAC MONITORING PER DAY

Investigations

ER
Provider: Dr Halan Johnston MEBS
Location: Cape Liberty, Bayonne, N.J,
Notes: Thank you for seeing this 75 year ald mala who prasenled SOB and hypoxic, diagnosed with pneumonia and heart failure Jan 24 2016, He has been trealed with
oxygen, aral augmentin, IW azilhromycin and GTN, furosemite, He remains hypoxic - oxygen demand 4-6L to kowp dale > 16% and confused, with poor diabetic control, and
Rew conjunctivitis. He has been bohaviourally challonging, Ha has been incontinent of urine and lances, with diarhoea. Thank you for laking over his care,

iStat - Gham 8
Fesuits
Completed: Jan 25, 2016 21:32 EST by Danlela Croitaru
AN
Piccalo - Blachemistry Panel Plus
Fesuils
Completed: Jan 25, 2016 12:29 EST by Wilma Augustyn
RN
iStat - Coagulation
Alesults
Completed: Jan 25, 2016 12:22 EST by Wilma Augustyn
AN
Piccolo - Biachemistry Pane! Plus
Results
Completed: Jan 25, 2016 12:14 EST by Wiima Auguslyn
RN
‘Stal - Chem 8
Resutts
Completed: Jan 25, 2016 12:20 EST by Wilma Augustlyn
RAN
Labs
Piccolo - Blochemistry Panal Plus dan 25, 2016 12:29 GMT
Name Result Unit Range Value
Glucose (BB mofdl 73-118
Powetad by (eg S ea Ca re (98000000921 25300) HOWARD BODNER - Apr 15, 1940 | Page 9 of 13

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“Pigseig , gehannvety Panel Pin a Tang. 2016 12:20 GMT 7a
terme Renal ‘tirelt fare Veter
“Srmnninr aT TTT TET
Uraie 7.2 mg/dl 2,2-8.0
Calcium 8.4 mag/dL B-10,3
Albumin 3.0 g/dL 3.9-5.5
Protein 6.6 g/dt 6.4-8.1
Alanine aminolransterase 29 UL 10-47
Aspartate aminotranslerase 22 UL 11-38
Alkaline phosphatase 61 UAL 42144
Gamma glutamyl transterase ai U/L 5-65
Amylase 76 U/L 14-97
© reactive protein --- mg/L 0-7.5
Piccolo - Biochemistry Panei Plus Jan 25, 2016 12:14 GMT
Name Result Unit Range Value
Glucose mg/dL 73-118
Urea rilrogen mgfdl 7-22
Creatinine mg/dL 0,6-1,2
Urate mg/dL 2,2-8.0
Caicium mg/dL 8-10.3
Albumin gid 9.9-5,5
Prolein g/dL 6.4-8.1
Alanine amlnotransferase U/L 10-47
Aspartate aminotransferase U/L 11-38
Alkaline ptiosphalase uA 42-144
Gamma glutamyl transferase U/L S-BS
Amylase U/L 14-97
C reactive protein magiL 0-7.5
1Stai- Chem 6 Jan 25, 2016 21:32 EST
Name Result Unit Range Value
Hei 33 % 41-50
Hb Hh2 13,8-17 2
Creatinine 21 mg/dl 0.5-1.4
Glucose 215 mg/dl 60-110
Gblotlde 108 mEg/L 95-187
Na 149 meEq/dl 135-147
« 3.3 mEq/ali 3.6-5.2
TCO2 22 mmayl 20-29
Anion gap 24 ramolsl a-17
ICa 0.70 mmol 1,67-0.83
Urea nitrogan*pra dialysis 57 mytdl 7-20

Powered oy: ts S eaCa re

{8800000092125300) HOWARD BODNER - Apr 15, 1940 | Page 10 of 13

FWBO000010
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Het 36 % 41-50

Hb ‘ 12.2 19,.8-17.2
Creatinine 25 mg/dl 0.5-1.4
Glucose 190 mg/dl 60-110
Chloride 109 mEq/L 95-107
Na 146 mEq/al {ab-147
K 4.3 meEq/dl 3,5-5.2
TCG2 29 mmali 20-29
Anion gap 12 minoll 341

iGa qt nimol?| 0,67-0,83
Urea nillagen*pre dialysis 58 mofdl 7:20

'Stat - Coagulation

Jan 25, 2016 12:22 EST

Name Reault

Unit

Range Value

PT 26.4

Sey

25-44

INA 2.4

0.9-1.2

Temperature
Main Vital Signs F c
Jan 25, 2016 18:57 EST
Wilma Augustyn AN

Gomments, Paiien suing an the

A OST PFOGee:
Noticed valluw cise: fon
eys. Or 4. Jonnsian faformed

Jan 25, 2016 16:57 EST
Wilma Augustyn RN

dan 25, 2016 16:48 EST
Wilma Augustyn RN

dan 25, 2016 12:56 EST

Wilma Auguslyn AN ee ed

Jan 25, 2016 12:36 EST
Wilma Augustyn RN

Jan 25, 2016 10:45 EST
Wilma Augustyn AN
Commnienis: On dt of O2 via
Nasal eannnia

etx i SeQaCare

Pulse BP

68 reg 142/641 LA sil

6) reg 119/78 = RAsit

64 reg 102/55 = LA lia

RA Pulse Oximetry

Spo2

97

a4

a7

Glucose
m@rdt mmole

Finger Tai 10.6 q

221 12.3 R

Finger

188 Wid R

Finger

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Medical record far Jan 26, wrillen by Dr Helen Johnston and Or Rosaria Delogu. Dr Johnston Jasi saw patient al 01:30, By this Ime his wile had arrived, and the gues! bacame
once again co-operative, was Seltted in bad, accepling oxygen by nasal prongs. Obs al this lime no respiratory distress, no tachyanoea, sats 94% on GL by nasai canulae,
sardiovascularly stable : BP 190/70, HR 80-90 regular. CantIquous niwnitoring, awailing arrival in Bayonne, referral laller writlen, ambulance on arrival at pier Gam. 5,.50am Dr
Rosaria Delogu al the medical (acilily in order to hand over to ambulance leam as arranged, Patlant waken up by nurse ready for arrival in perl, at this point very confused and
refusing nasal canulae, established that at ihis point the patient needs 10 be inlubaled. Chest examination shows reduced air eniry, with same right basal crepilalions, atill
cardlovascularly stable. Ship was docking, bridge called to tind oul exact lime of arrival and asked if ambulance was on the pior - in order to decide whether to intubate on Ihe
ship or transfer to hospital, considering the predictably difficull intubation (short neck wih reduced mobility, patient base, reduced mauth opening, large tongue]. Ambulance on
Pier, patient extremely agitated, physically very strong, refusing oxygen and any attempl al monitoring. Ambulance team arrived and told us that it was al leasl ten minutes to
hospital, decision taken to inlubate immediately. Intubation attempted Iwics [150mg suxamelhonium, propofol titrated to achieve sedation] with normal blade and Jong blade, bul
unsucceasful. Palisnt ventilated with mask/ambu-bag, until saturallons up to 97%. Intubation attempied by ambulance team with fibreoplic laryngoscope, again without success,
GVS stable. Ambulance team then placed ing tubs, but salurations stared dropping despite this airway device and ambu bag veniilalion. At some point decision is made lo
request assistance from ICU ralrieval team, Dr Johnston spoke with this team by phone, bul then decision made ta cancel the requast, Shorly afler ambulance team larmally
handed back patiant to ship medical team, once again ICU ambulance raquasted. Ship medical leam continued to venillate via King tube, but palient becomes cardlovascularly
unstable, bload pressure 80/40, hear rate 40, perl-arest. 7:54 cardiac arrest with asystole. CPR starled, epinephrine every 3 minutes x 4, gaod GPR confirmed on monitor,
[08:07 sat O2 detected 74%, BP 78/43] but patient still PEA, 08:15 ICU ambulance leam arrived and tonk over, patient transferred to Bayonne Hospital, CPA in progress.

Created by: Dr Helen Johnston MBBS on Jan 30, 2016 00:05 BOT
Clinical Note Jan 26, 2016

Triage Chief Complaint
Pailent attends clinic for Encounter apan to continue notes,

Triage Entered By
Daniela Crolloru AN on Jan 26, 2016 at 09:59 EST

Priority

Notes

5:30 Monitoring continuously the patient for his saturation ta maintain at 92-93% as ordered dy doctor Johnsion,which he maintains during sleep.Did nol atlempt io ramave the
nasal cannula. Tha BP maintains good 123/66 HR 90/min

5:50 | woke up the patient to fix beiter (he nasal cannula because It has slippad out from one of the nastrils.Patient says he does nol want it, His wife lries to convince him lo keep
ICon, but he keeps on pushing our hands and sits upright on the bed, Wife saye | ahould not try to fix it, but Jet him do if instead, even though he dogs not want to do il. Dr,
Delogu,who Is In the Medical facllily is informed and asked for help.His salurailon rapidly drops to 86% withou! O2 . Switched fo non rabreathable mask al 12l/min and wilh the
help of two doctors ,two nurses and his wife he keeps the mask on his face on and off and the SaO2 increases to 95%,

6:00 The paramedics trom shoreside come on board and lake over [he patient. Dr Delogu wants Io intubate the patient. Everything is prepared for intubation, All medical team
present .Sedallon Is given with Propofol first and succynilcholine ,.Patlent starts to be oxygenated wilh Ambu bag, responding well, with the SaO2 98%. Tst attempt to intubate is
made, unsuccessiul,Patlent is suctioned.The SaQ2 drops to 88% Continue to use the Ambu Bag for ventilatian, the SaO2 is improving 98% . 2nd aliampt of intubation is made,
patient is suctioned. Continue to use Ambu Bag lo improve oxygenalian .SaQ2 97%.The 3rd allempt Is made by the paramedics, with the Propofal and Succynilcholin arderad by.
the doctor for sadation(since Ihe patient wakes up). Allempt unsuccessful. BP stable, Normal Sinus Ahyihm, The paramedics decided lo place the King lube, The SaQ2 drops to
86 while on lhe King Tube.The saturation continues to drop and reaches 77%. Ai around 7:30,the paramedics handed over the patient back la us and an ICU ambulance wilh the
doctor js called instead. Continue (0 vantilale the patient through king tube with no improvement in saturation of axygen.BP drops 10 86/40 and Hr slows to 40/min.At 7:53 patient
goes in asystole as shown on the cardiac monitor, the pulse cannot be detected and CPR started. At 7:56 first Epinephrine img (V given and continue GPR . Epinephrine given
avery three minutes, in total 4 doses: BP of 72/25 is obtained on his lett arm, bul the pulse cannol ba palpaled and stlll asystolie showing .CPR conilnued. Al around 7:15 ihe
{CU ambulance comes from shore side with ICU dr and personnel and take over lhe patient while performing CPR.

Writfen by Daniela Croitory AN on Jan 26, 2016 al 10:10 EST

aL —
Temperature Pulse BP RR Pulse Oxlmetry Glucose
Main Vital Signs Fe G Spo2 mg/at mmole
Jan 26, 2016 23:00 EST , i
Daniela Croltoru RN 89 reg 126/70 = RA lie 32 Finger
dan 26, 2016 05:00 EST bole . .
Daniela Croltoru RN 390 reg 129/66 RA lie ga Fingar
van 26, 2016 23:00 EST a 7
Panela Crofloiu RN re8770)idisit
Jan 25, 2016 20:30 &ST _—_ . 7 Bae
Daniela Croilaru RN IS6/70 RA lie a3 Finger
en by (4 S @a Ca re (9800000092125300) HOWARD BODNER - Apr 15, 1940 | Page 12 of 13

FWBO000012
Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 34 of 42

Medlcal recard for Jan 26, writlan by Dr Halon Johnston and Dr Rosaria Delogu. Dr Johnston last saw pallent at 01:30. By [his time his wile had arrived, and ihe gueal became
once again co-~operallve, was sellled in bed, accepting oxygen by nasal pronga. Obs at lhis time no respiratory distress, no iachypnoea, sals 94% on 6L by nasal canulae,
cardlovascularly stable : BP 130/70, HR 80-90 regular. Continuous monitoring, awaiting arrival In Bayonne, referral teller written, ambulance on arrival al plar 6am. §.50am Dr
Rosaria Detogu al the medical facillly in order to hand over to ambulance leam ae arrangad. Pallent woken up by nurse ready for arrival In port, al this paint vary canfused and
refusing nasal canulae, established that at (his point the patleni neods to be intubated. Chest examination shows reduced air entry, wiih same right basal crepltations, still
cardlovascularly stable. Ship was docking, bridge called to find out exact tlme of arrival and asked if ambulance was on the pier - In order lo decide whether to Intubata on the
ship or transfar to hospital, considering the predictably difficull Intubation [short nack with reduced mobility, patienl abase, reduced mouth opening, large longue], Ambulance on
pier, palin extremely agitated, physically very strong, refusing oxygen and any attempl at monitoring. Ambulance team arrivad and told ua (hal it was at laast jen minulas to
hospital, decision taken ta intubate immediately, Intubation attempted twice [150mg suxamethanium, propolol tiiraied to achieve sedation] with normal blade and long blade, but
unsuccesstul. Palient ventilated wilh mask/ambu-bag, Unlll saturations up to 97%, Intubation attempted by ambulance team with libreoptic laryngoscope, again without success,
CVS stable. Ambulance team Ihen placed King tuba, but saturations started dropping despite this airway device and ambu bag ventilalion, At same point dacision is made lo
request assistance from ICU retrieval team, Dr Johnstan spoke with this leam by phone, bul then decision made to cancel the requesi. Shorily after ambulance team formally
handed back palient to ship medical team, once again ICU ambulance requested. Ship medical eam continued to ventllate via King tubs, bul palient becomes cardlovascularly
unstable, blond pressure 80/40, heart rale 40, peri-arrest. 7:53 cardlac arrest wilh asystole. CPR started, epinephrine avery 3 minutes x 4, good GPR contlrmed on monitor,
[08:07 sal O2 detected 74%, BP 76/43] but patient still PEA. 08:15 ICU ambulance team arsivad and look over, patlont transierred to Bayonne Hospital, CPR in progress.
Created by: Dr Helen Johnston MBBS on Jan 30, 2016 00:02 BOT

Medical record for Jan 26, written by Dr Helen Johnston and Or Rosaria Delogu. Dr Johnsian last saw palient al 01:30. By Ihis time his wite had arrived, and (he guest became
once again co-operalive, was selllad in bed, accepting oxygen by nasal prongs. Obs at this time na resplratory distress, no lachypnoea, sals 94% on SL by nasal canulae,
cardlovascularly stable : BP 130/70, HR 80-90 regular. Continuous monitoring, awailing arrival in Bayonne, referral laltar written, ambulance on artlval at pier 6am. 5,$0am Dr
Rosaria Delagu at the medical facillty In order 10 hand over to ambulance team as arranged, Palient woken up by nurse raady for arrival In port, at this point very conlused and
refusing nasal canulae, established ttrat al this point ihe patient needs to be Intubated. Chast examination shows reduced air eniry, with same right basal crepltations, still
cardiovascularly stable. Ship was docking, bridge called to find out exact lime of arrival and asked if ambulance was on the pier - in order to decide whether to Intubate on the
ship or transfer lo hospital, considering the prediclably difficull Intubation (shor neck wilh reduced mobility, patient obese, reduced mouth opening, large tongue]. Ambulance on
pier, patlent extremely agitated, physicaily very strong, refusing oxygen and any atiompt at monitoring. Ambulance team arrived and told us that il was at least tan minutes to
hospltal, dacisian taken to intubale immediately. Intubation attempted twice [150mg suxamethonium, propotol titrated to achieve sedation) wilh normal blade and tong biade, but
unsuccessiul. Patient ventilated wilh mask/ambu-bag, until saturations up to 97%. Inlubation attempted by ambulance taam with tibreontic laryngoscope, again without success.
CVS stable. Ambulance team then placed King iybe. bul saturations started dropping despite this alrway device and ambu bag ventilation. Al some point decision ls mada to
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unstable, bload pressure 80/40, haart rate 40, peri-arrest. 7:53 cardiac arrest wilh asystole, CPA started, epinephrine every 4 minutes x 4, good CPR confirmed on monitor,
(08:07 sat O2 detected 74%, BP 76/43) but patiant still PEA. 08:15 ICU ambulance leam arrived and (ook aver, patlent transferred te Bayonne Haspilai, CPR (n progress.
Created by: Or Helen Johnston MBBS an Jan 30, 2016 00:01 BOT

Medival record for Jan 26, written by Dr Helen Johnston and Dr Rosaria Delogu. Dr Johnston last saw patient at 01:30, By this lime his wile had arrived, and the guest became
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cardiovascularly stable ; BP 130/70, HR 80-90 regular. Continuous monitoring, awaiting arrival in Bayonne, raferral tetter written, ambulance on artival at pier 6am. 5.50am Dr
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ship or transfer to hospital, considering the predictably dificult intubation [short neck with reduced mobility, patient obese, reduced mouth opening, large tonguej. Ambulance on
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haspital, decision taken to Inlubale Immadlately. Intubation atlampted twice (150mg suxamethonlum, propofol titrated to achleve sedallon] with normal blade and long blade, bul
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[08:07 sat 02 detacted 74%, BP 76/43] but patiant still PEA. 08:15 ICU ambulance team arrived and took over, patient iransferred to Bayonne Hospilal, GPR in pragrass.

Greated by: Or Halen Johnston MBBS on Jan 30, 2016 00:00 BOT

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Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 39 of 42

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Case 1:17-cv-20260-JAL Document 50 Entered on FLSD Docket 10/17/2017 Page 40 of 42

Medco Medicare Prescription Plane

RuBln 610014

RxPen =MEDDOPRIME
RxGrp =RXMEDDI

Issuer 80840

IDNo, 6126916982260
Name HOWARD BODNER

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‘ CMS-55660 035:

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 EFFECTIVEDATE 07/01/2019
BCS PLAN CObEs 280/780

FWBO000019
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Re
Celebrity Cruises
INTERNATIONAL

Guest Landed Report

(This is not a death certificate)

AZAMARA

CLUB CRUISES”

E-mail Report & Medical

Notes / Referral to: CareTeam

recl.com

AN

Report Submitted (date): 1.26.16

D. Croitoru RN

Security notified? Bd Yes (]No

Ship's Doctor: Dr. H, Johnston, Dr, R. Delogu. Ship's Nurse: Wilma Augustyn RN,

Vessel:

Voyage #: 33027
Sail date: 115114
Cabin Number: 8656

Booking Number:
Time Guest Landed: _08:20PM_ Time CareTeam notified:_Yes, _
GUEST INFORMATION ("Campuisory liald)
“Neme(last, first, middle): *Gender: “Date of Binh(mnvadiyy):
Bodner, Howard Male [1] Female 4/15/40
“Emait: :

*Home Address:

& “Emergency Contact Oo *Next of Kin

"Documentation:
&) Passport
*Dacument No.
509804316

L_} Visa

fl Birth C

*Traval insurance Company:
Horizon

"Hoalth insurance Company:
MEDICARE

14 Turnberry.Dr. Lincroft New Jersey USA

*Celfplione Number:
732-245-0681

“Nome;
Bodner, Sheila (WIFE)

ertificate (1 Alien Registration ENGLISH
~Hgsuing Country *Country of Citizenship:
‘| USA USA
oO "Policy No.: "Phone:
YHR3HZN61 267610 782-245-0681
“Policy No: “Phone

XXX-XX-XXXX-A

| *Celfphone Number:
732-245-0681

“Primary Language Spoken:

1-800-633-4227

TRAVELLING COMPANION INFORMATION (“Compulsory field)

“Traveling Companian’s Name:
Bodner, Sheila (WIFE)
Total Nurnber of People it Party:
2

*Sintoroom No.: Booking No.

8656
’| Number of Children in Party: —

” | Ages of Children:

Primary language spoken:
ENGLISH

“Cellphone Number;
sane

MEDICAL EVALUATION (‘Compulsory tieia)

] Medical Referral / Evacuation
“Date of Onset of Symptoms ar Injury:
1.24.16

C1 Death - Was Next of Kin notified? [JYes [INo

“Daseription of iliness or injury / avant:

|e 486 - Pneumonia, organism unspecified
| 518.4 - Acute edema of lung, unspecified
|e 372.30 - Conjunctivitis, unspecified

at

| ‘Location: .
Bayonne NJ

Rev: September 2015
FWBO000020
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AZAMARA

CLUB CRUISES" ae at VI ea a

seed #0 Cn] y UT

Celebrity Cruises
PACT ERN AT EON ACL)

*Diagnosis or presumed Cause of Daath: *Specially required: ER

“Type of transportation required (Taxi /BLS/ ALS ambulance); AMBULANCE Additional requirements for transfer (ventilator/n urse/doctor/oxygen}:

“Mobility (wheelchair/siretcher/walks with assistance/fully mobile): Streteher "Request far Private or Public Hospital: Public

LANDED INFORMATION (‘Compuisory fied)

*Lanided to {hospilavnatel name, telephone number, oily and country):

ae anee, onikended. Bayonne Medical Center
1.26.16 Bayonne e 29 E 29th St, Bayonne, NJ 07002
oo e (201) 858-5000
Disposition af Porsonal Property: Was Guest allawed to re-board?
wiGuest |O1Yes XI No
"Port Agent Notitfed?
El Yes ([JNo /f"Yes", indicate agent's name and telephone number: Kelly Machado Mobile: (+1) 347-443-3284
aann sti sano T Neier” \" “Sieh ig |Back: : Caliglionie Naniiber
9 Traveling Comp 1 Name. laleronm No aking olphona Murti Primary Language: Mobilily/ Special needs: *
same same
Oisombarking Traveling Com 2Name: | Stateroom No; | Gooking No.. Gallphona Numbor.: Primary Language: Mobiity/ Spaciat neads:
‘Wana CTA assigned tc the quest? { “i yes, contact cellphone number for CTA:
Clyes [&No |
‘CTA disembarking with guest? . . . . ZI :
“i yas, confirm CTA given contact details for CaraTeam
* ve L] Yes No i . ay
‘Name of CTA and position: Specialist, Port Agent, petty cash and medical facility
cellphone {if necessary):
OYes [No .

“Confirm tending letter supplied to guest: KlYes [No

VESSEL DEVIATED (complete this section only if vessel’s schedule / itinerary was affected by landing

(1) Turned around? (1) Speed increased? | 7°?"
C) Port changed? CJ Evacuation at Sea?

Rev: September 2015
FweB000021
